444 F.2d 222
    Arnold C. WATSON, Plaintiff-Appellant,v.COMMERCIAL CREDIT CORPORATION et al., Defendants-Appellees.
    No. 71-1583 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    June 28, 1971.
    Rehearing Denied August 10, 1971.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; Fred J. Cassibry, District Judge.
      Arnold C. Watson, pro se.
      Guy B. Scoggin, Frank S. Normann, Michael A. Britt, Don M. Richard, Mary Williams Cazales, Asst. U. S. Attys., Gerald J. Gallinghouse, U. S. Atty., Normann &amp; Normann, New Orleans, La., Legier, McEnerny, Waguespack, Kuhner &amp; Scoggin, New Orleans, La., for appellees.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      Affirmed. See Local Rule 21;1aWatson v. Commercial Credit Corporation, 341 F.2d 915 (5th Cir. 1965), cert. denied 381 U.S. 943, 85 S.Ct. 1782, 14 L. Ed.2d 706.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; see Isbell Enterprises v. Citizens Casualty Co. of N. Y., 431 F.2d 409, Part I (5th Cir. 1970)
        1a. See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970).
      
    
    